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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,
                                                      Crim. No. 22-174-2 (NEB/ECW)
                     Plaintiff,

v.
                                                                 ORDER
Juan Gabriel Serna-Rojo,

                     Defendant.


       As required by Rule 5(f) of the Rules of Criminal Procedure, the United States is

ordered to disclose all exculpatory evidence to the defendant as required by Brady v.

Maryland and its progeny. Not doing so in a timely manner may result in sanctions,

including exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, disciplinary action, or sanctions by the Court.



Dated: August 15, 2022                    s/ Becky R. Thorson
                                          BECKY R. THORSON
                                          United States Magistrate Judge
